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                            SO ORDERED: April 10, 2019.




                            ______________________________
                            Basil H. Lorch III
                            United States Bankruptcy Judge




                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF INDIANA
                            NEW ALBANY DIVISION
                                   :
In re:                             :
                                   :
    Patrick Raymond Clift          :  Case No.: 19-90046 - BHL
                                   :  Chapter 7
       Debtor.                     :  Judge Basil H. Lorch III
                                   :  *********************
                                   :


ORDER ON CREDITOR'S MOTION FOR RELIEF FROM AUTOMATIC STAY AND
ABANDONMENT OF PROPERTY BECAUSE STATEMENT OF INTENT PROPOSES
SURRENDER OF PROPERTY AND NOTICE OF OBJECTION DEADLINE WITH 30-
                 DAY WAIVER (FIRST MORTGAGE)

         For good cause shown, Nationstar Mortgage LLC d/b/a Mr. Cooper, its successor and

assigns (hereinafter "Creditor")'s Motion for Relief from Automatic Stay and Abandonment of

Property is hereby granted.

         Creditor filed a motion that requested the Trustee be ordered to abandon his interest in

the real property located at 1090 State Road 46 East, Batesville, IN 47006 pursuant to 11 U.S.C.

§ 554.




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       The objection deadline has passed, and the Trustee has not filed a written objection to the

taking of the proposed action.

       Therefore, it is ORDERED that the Trustee abandon his interest in the real property

pursuant to 11 U.S.C. § 554.

       Creditor's motion also requested relief pursuant to 11 U.S.C. § 362 so that it could

accelerate the debt owed by Debtor herein and foreclose its mortgage on real property located at

1090 State Road 46 East, Batesville, IN 47006 (hereinafter "Real Estate"), and otherwise pursue

Creditor's contractual and state law remedies.

       The objection deadline has passed, and the Debtor has not timely filed a written objection

to the taking of the proposed action.

       Therefore, pursuant to 11 U.S.C. § 362, it is ORDERED that the stay that issued in this

action is terminated with respect to Creditor, its successors and assigns, and that the fourteen

(14) day stay of the order imposed by Bankruptcy Rule 4001(a)(3) is waived.

       Creditor is hereby permitted to take any and all actions necessary to accelerate the

balance due on the obligation, to foreclose its mortgage, to sell the collateral in accordance with

state law, to apply the net proceeds to this obligation, and to otherwise exercise its contractual

and state law rights as to the Real Property.

       SO ORDERED.


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